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UNITED STATES DISTRICT COURT                                              ☆   SOUTHERN DISTRICT OF TEXAS
                                                                                  HOUSTON DIVISION


Darius Dubash and Faraz Harsini,                                     §
Plaintiffs,                                                          §
                                                                     §
versus                                                               §        Case No. 4:23-cv-03556-H
                                                                     §
City of Houston, et al.                                              §
Defendants                                                           §

                                                           Scheduling Order

1. Trial: Estimated time to try: 5 days.                                                          ☐ Bench               X Jury

2. New parties must be joined by:                                                                            1/31/24
         Furnish a copy of this scheduling order to new parties.


3. The plaintiff's experts will be named with a report furnished by:                                         6/7/24

4. The defendant's experts must be named with a report furnished by:                                         7/12/24

5. Discovery must be completed by:                                                                           8/2/2024
         Counsel may agree to continue discovery beyond the deadline, but there will be no intervention by the Court.
         No continuance will be granted because of information acquired in post-deadline discovery.


6. Dispositive Motions will be filed by:                                                                     10/16/2024
   Response due by:                                                                                          11/15/2024

   Non-Dispositive Motions will be filed by:

*********************** The Court will provide these dates. ***********************

7. Joint pretrial order is due:                                                                              ________________
    The plaintiff is responsible for filing the pretrial order on time.


8. Final Pretrial Conference is set for 1:30 p.m. on:                                                        ________________

9. Jury Selection is set for 9:00 a.m. on:*                                                                  ________________
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The case will remain on standby until tried.

                 Signed this the ________ day of _________________, 20___.


                                               ___________________________________
                                               Andrew S. Hanen
                                               United States District Judge
